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                                                      Exhibit 5
                      Designations of Deposition Testimony of Bradley Buckley (July 18, 2022)


             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line          Defendants’     Start Page/Line  End Page/Line        Plaintiffs’
                                                 Objections                                           Objections
       6:14                    6:16
       10:21                   11:20
       22:16                   23:2
       23:11                   23:12
       31:1                    31:9
       31:22                   32:1
       32:4                    32:8
       32:9                    32:9
       32:11                   32:11
       32:12                   32:12
       32:14                   32:14
       32:15                   32:15
       32:17                   32:21
       56:18                   57:2
       57:8                    57:9
       57:12                   57:17
       57:18                   57:18
       57:21                   57:21
       62:14                   62:15
       62:18                   62:18
       62:19                   62:19
       62:22                   62:22
       62:23                   62:23
       63:1                    63:1
       63:2                    63:3
       63:6                    63:6

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             Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line          End Page/Line          Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                 Objections                                          Objections
       65:5                    65:6
       65:8                    65:8
       65:22                   65:23
       65:25                   66:1
       66:2                    66:4
       66:9                    66:10
       68:25                   68:25
       69:2                    69:5
       70:4                    70:7
       70:11                   70:11
       74:23                   74:24
       75:2                    75:2
       75:5                    75:5
       75:6                    75:6
       75:9                    75:9
       79:10                   79:10
       79:13                   79:14
       79:15                   79:17
       80:9                    80:11
       80:20                   80:21
       80:24                   80:24
       80:25                   81:1
       81:2                    81:3
       81:6                    81:6
       81:7                    81:9
       81:12                   81:12
       91:7                    91:11
       91:14                   91:14
       91:15                   91:16

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              Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line           End Page/Line          Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                  Objections                                          Objections
       91:19                    91:19
       91:20                    91:21
       91:24                    91:25
      102:22                   102:241
       103:2                    103:2
      108:21                    108:24
       109:1                    109:25
       127:1                    127:11
       128:5                    128:5
       128:7                    128:8
       128:9                    128:10
       131:1                    131:9
      131:13                    131:14
      131:15                    133:5
       133:6                    133:7
      133:10                    133:13
       135:2                    135:16
      153:20                    153:20
      153:24                    153:24
      153:25                    153:25
       154:3                    154:3
       154:4                    154:5
       154:8                    154:9
      154:10                    154:19
       156:6                    156:10
      156:15                    156:22
       160:7                    160:8
       160:11                   160:18
      163:12                    163:13

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              Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line           End Page/Line          Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                  Objections                                          Objections
      163:16                    163:19
      163:20                    163:21
      163:24                    163:25
       166:1                    166:5
       166:8                    166:10
       170:7                    170:9
      170:17                    170:23
       174:8                    174:10
      174:12                    174:12
      174:13                    174:13
      174:15                    174:15
      174:16                    174:19
      174:20                    174:22
      174:25                    175:1
       175:2                    175:6
      181:15                    181:18
      181:21                    181:21
      181:22                    181:24
       182:2                    182:2
       182:3                    182:5
       182:6                    182:7
      182:10                    182:10
       182:11                   182:11
      182:13                    182:13
      182:14                    182:24
      182:25                    183:2
       183:5                    183:6
       183:7                    183:7
       183:9                    183:20

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              Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line           End Page/Line          Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                  Objections                                          Objections
      184:22                    184:24
       185:2                    185:2
       185:3                    185:4
       185:6                    185:7
       185:8                    185:9
      185:12                    185:12
      213:18                    213:20
      213:24                    213:24
      219:25                    220:1
       220:5                    220:5
       220:6                    220:11
      221:14                    221:14
      221:18                    221:18
      221:19                    221:20
       222:3                    222:4
       222:5                    222:6
       222:9                    222:9
      222:10                    222:13
      222:19                    222:19
      222:20                    222:22
      222:25                    222:25
       223:1                    223:2
       223:5                    223:6
       223:7                    223:8
       223:11                   223:12
       224:6                    224:9
      224:10                    224:11
      224:14                    224:16
      224:17                    224:18

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             Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line          End Page/Line          Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                 Objections                                          Objections
      224:25                   224:25
       225:7                   225:10
      225:13                   225:14
       227:2                   227:12
      227:13                   227:13
      227:16                   227:17
      227:18                   227:19
      227:21                   227:21
      232:10                   232:15
      232:18                   232:18
      232:19                   232:20
      232:23                   232:25
       233:1                   233:8
       233:9                   233:11
      233:14                   233:14
      233:15                   233:16
      233:17                   233:18
      233:21                   233:24
      236:20                   237:6
      237:12                   238:8
      238:24                   239:3
       239:6                   239:6
       239:7                   239:7
      239:14                   239:15
      239:16                   239:17
      239:18                   239:18
      239:20                   239:20
      239:21                   239:23
       240:1                   240:1

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              Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line           End Page/Line          Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                  Objections                                          Objections
       240:2                    240:2
       240:4                    240:4
       240:5                    240:5
       240:7                    240:7
       240:8                    240:9
      240:12                    240:14
       249:1                    249:2
       249:4                    249:4
       249:5                    249:6
       249:8                    249:10
       249:11                   249:13
      249:16                    249:16
      249:17                    249:21
      249:24                    249:24
       254:3                    254:7
       254:9                    254:12
      254:14                    254:14
      254:15                    254:16
      254:17                    254:18
      254:21                    254:22
      254:23                    254:25
       255:2                    255:2
      255:12                    255:14
      255:17                    255:17
      255:18                    255:20
      255:21                    255:22
      255:25                    256:2
       256:3                    256:4
       256:5                    256:7

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              Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line           End Page/Line          Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                  Objections                                          Objections
      256:10                    256:10
       256:11                   256:11
      256:13                    256:14




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